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                                                             Order Filed on July 13, 2020
                                                             by Clerk
                                                             U.S. Bankruptcy Court
                                                             District of New Jersey




DATED: July 13, 2020
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  IZI   A Notice of Request for Loss Mitigation was filed by the debtor on _612612 0 2 0
                                                                             _ _ _ _ _ _ _ ____

  D         A Notice of Request for Loss Mitigation was filed by the creditor,
        ___________ on ________

  D The court raised the issue of Loss Mitigation, and the parties having had notice and an
        opportunity to object, and the Court having reviewed any objections thereto.

   The Request concerns the following:

   Property:     I 76 Park Ave. Randolph, N.J. 07896

   Creditor: Bayview Loan Servicing


  D It is hereby ORDERED that the Notice of Request for Loss Mitigation is denied.
  Dx It is hereby ORDERED that the Notice of Request for Loss Mitigation is granted,
  and: •        The debtor and creditor listed above are directed to participate in Loss Mitigation and are
                bound by the court's Loss Mitigation Program and Procedures (LMP).

        •                                                       OCT.22,20__ (90 days from the
                The Loss Mitigation process shall terminate on _____
                date of entry of this order, unless an Application for Extension or Early Termination of
                the Loss Mitigation Period is filed under Section IX.B of the LMP.)

        •       The debtor must make monthly adequate protection payments to the creditor during the
                Loss Mitigation Period in the amount of ________ on the due date set forth
                in the note, including any grace period. See Section VII.B. of the LMP.

        •       If a relief from stay motion pursuant to section 362(d) is pending upon entry of this Order
                or if such a motion is filed during the loss mitigation period, the court may condition the
                stay upon compliance by the debtor with the fulfillment of the debtor's obligations under
                the Loss Mitigation Order. If the debtor fails to comply with the loss mitigation process
                and this Order, the creditor may apply to terminate the Order as specified in Section
                IX.B. of the LMP and to obtain relief from the stay.




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